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                             UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

   JAMES EVERETT SHELTON,

                           Plaintiff,

   v.                                                         Case No: 6:18-cv-1335-Orl-41KRS

   CSG SOLUTIONS CONSULTING LLC,
   CSG SOLUTIONS SERVICES LLC,
   VINCENT CAMPASANO, SR. , CARLOS
   SINENCIO GUERRERO and CARLOS D.
   GUERRERO,

                           Defendants.


                                                 ORDER
             This cause came on for consideration without oral argument on the following motion filed

   herein:

             MOTION:       PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT PER
                           RULE 55(B)(2) (Doc. No. 29)

             FILED:        November 27, 2018



             THEREON it is ORDERED that the motion is DENIED without prejudice.

             On August 15, 2018, Plaintiff James Everett Shelton, appearing pro se, filed a complaint

   against Defendants CSG Solutions Consulting LLC; CSG Solutions Services LLC; Carlos D.

   Guerrero; Carlos Sinencio Guerrero; and Vincent Campasano. Doc. No. 1. Plaintiff alleges that

   Defendants violated the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227, as well

   as its implementing regulations, 47 C.F.R. § 64.1200(d), by engaging in unlawful telephone

   solicitations. Doc. No. 1, at 2. Defendants failed to answer or otherwise respond to the complaint,
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   and Plaintiff obtained a Clerk’s default against each Defendant. Doc. Nos. 20–23, 28. Plaintiff

   now moves for entry of a default judgment against each Defendant. Doc. No. 29. However, the

   motion is deficient in several respects.

           First, before corporate officers may be held personally liable under the TCPA, they must

   have had direct, personal participation in the conduct that violated the TCPA or knowingly

   authorized such conduct. See, e.g., Physicians Healthsource, Inc. v. Doctor Diabetic Supply, LLC,

   No. 12-22330-CIV, 2015 WL 3644598, at *3 (S.D. Fla. June 10, 2015). In several portions of the

   complaint, Plaintiff refers simply to “Guerrero” and does not specify whether he is making

   allegations against Defendant Carlos D. Guerrero or Defendant Carlos Sinencio Guerrero. See,

   e.g., Doc. No. 1, at 6–7, 10, 12–13. Plaintiff’s failure to distinguish between Carlos D. Guerrero

   and Carlos Sinencio Guerrero leaves the Court with insufficient factual allegations to determine

   which of these individual Defendants supervised and directed employees who violated the TCPA.

   Thus, as currently pled, the complaint fails to state a claim against either Guerrero Defendant. 1

           In addition, Plaintiff alleges that one of the Guerrero Defendants and Campasano were the

   “principal owners” of “CSG,” directed employees who violated the TCPA, and made the day-to-

   day decisions for their respective companies.          Id. at 10, 13.     Plaintiff’s allegations that the

   individual Defendants were the principals who oversaw the telemarketing process and the

   employees of “CSG” are alone insufficient to warrant a finding of personal liability under the TCPA.

   See, e.g., Shelton v. Merch. Flow Fin. Corp., No. CV-18-11294 (JMV) (SCM), 2018 WL 6839562,




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              A defaulting defendant admits only the well pleaded allegations of the complaint. Nishimatsu
   Constr. Co. v. Houston Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975) (“The defendant is not held to admit
   facts that are not well pleaded or to admit conclusions of law.”). Accordingly, Plaintiff may not rely on his
   affidavit filed in support of the motion for default judgment to resolve the deficiencies in the complaint.


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   at *4 (D.N.J. Dec. 31, 2018). Plaintiff fails to point to specific factual allegations in the complaint

   that state a claim of personal liability as to any of the individual Defendants.

           Second, as to the Defendant business entities—CSG Solutions Services, LLC and CSG

   Solutions Consulting, LLC—Plaintiff’s motion for default judgment does not demonstrate how the

   allegations of the complaint establish that the phone calls in question were made by either of these

   entities. In the motion, Plaintiff only alleges that “Defendant” committed violations of 47 U.S.C.

   §§ 227(b)(1)(A) and 227(c). Doc. No. 29, at 8–9. 2 He cites to portions of the complaint that fail

   to establish a connection between each Defendant business entity and the phone calls at issue. Id.;

   see Doc. No. 1 ¶¶ 45, 107 (neither paragraph mentions Defendants), id. at 17–18 (a table in the

   complaint documenting telephone calls to his cellphone but not addressing any connection to

   Defendants). In addition, Plaintiff alleges that several of the phone calls listed in the table are

   connected to an entity named Second Choice Horizon, which is not a party to this lawsuit. E.g., id.

   ¶¶ 64–71. Accordingly, a renewed motion for default judgment must establish, with pinpoint

   citations to the complaint, how the complaint adequately alleges that each Defendant business entity

   is liable for the phone calls at issue.

           Third, even assuming that Plaintiff can sufficiently demonstrate that the phone calls are

   connected to either of the Defendant business entities, Plaintiff has not demonstrated that joint

   liability against both entities is proper. Among other problems, there are inconsistencies in the

   allegations of the complaint. For example, Plaintiff alleges, upon information and belief, that

   Defendant Campasano and one of the Guerrero Defendants partnered and formed “two separate but

   identical business entities.” Doc. No. 1 ¶ 30 (emphasis added). In other portions of the complaint,




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               Citations to the motion for default judgment refer to the pagination assigned by CM/ECF.


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   Plaintiff refers collectively to the Defendant business entities as the same business: “CSG.” Id. at

   2–3, 10.

           If the companies are separate entities, in a renewed motion for default judgment Plaintiff

   must provide pinpoint citations to the specific paragraphs of the complaint that establish which of

   the unsolicited phone calls are attributable to which Defendant, either CSG Solutions Services, LLC

   or CSG Solutions Consulting, LLC. On the other hand, if Plaintiff seeks to establish that the

   Defendant business entities are engaged in a joint venture, Plaintiff must provide citations to the

   specific factual allegations of the complaint that establish the elements of a joint venture. See, e.g.,

   Holding Co. of the Villages, Inc. v. Little John’s Movers & Storage, Inc., No. 5:17-CV-187-OC-

   34PRL, 2017 WL 6319549, at *7 (M.D. Fla. Dec. 11, 2017) (citations and quotation marks omitted)

   (“Under Florida law, a joint venture may be created by express or implied contract, and the

   contractual relationship must consist of the following elements: (1) a common purpose; (2) a joint

   proprietary interest in the subject matter; (3) the right to share profits and duty to share losses, and

   (4) joint control or right of control. Florida courts have interpreted these requirements to preclude

   a finding that a partnership or joint venture exists where any factor is missing.”). Finally, if Plaintiff

   seeks to establish that these Defendants are in fact the same entity and can be held liable as such,

   Plaintiff must provide pinpoint citations to the specific allegations of the complaint establishing that

   fact.

           Fourth, in the complaint, Plaintiff alleges that Defendants violated the implementing

   regulations of the TCPA—47 C.F.R. §§ 64.1200(d)(1), (d)(3). Doc. No. 1, at 26–28. Section

   64.1200(d)(1) requires that prior to making telemarketing calls, the telemarketer have a written

   policy, available on demand, for maintaining a do-not-call list. Section 64.1200(d)(3) requires the

   telemarketer to record and honor do-not call requests. Plaintiff provides no authority holding that



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   a defendant’s failure to provide a do-not-call policy on demand or place a consumer’s name on a

   do-not call list by itself constitutes a violation of these regulations. Instead, courts have interpreted

   these provisions to find violations if a person or entity places a phone call without first having these

   procedures in place. See Hamilton v. Voxeo Corp., No. 07-404, 2009 WL 1868542, at *4 (S.D.

   Ohio June 25, 2009) (“Plaintiff cannot recover for [the defendant’s] refusal to send him its do-not-

   call policy. He can only recover for a call made at a time when [the defendant] did not have such

   a policy in place.”); Simmons v. Charter Commc’ns, Inc., 222 F. Supp. 3d 121, 139 (D. Conn. 2016)

   (citation omitted), aff’d, 686 F. App’x 48 (2d Cir. 2017) (“[I]n order to prove a subsection (d)(3)

   violation, a plaintiff cannot rely solely on the fact that a provider failed to record or honor an

   individual’s request to be placed on a DNC list. Rather, the plaintiff must establish that the calls

   he or she received were initiated prior to the implementation of proper procedures.”). Accordingly,

   a renewed motion must address, with citations to legal authority and pinpoint citations to the

   corresponding allegations of the complaint, how the complaint sufficiently alleges Defendants’

   liability under 47 C.F.R. §§ 64.1200(d)(1) and (d)(3).

          Fifth, in both the complaint and the motion for default judgment, Plaintiff claims that

   Defendants made 24 phone calls in violation of the TCPA robocall prohibitions and do-not-call

   policy protections. Doc. No. 1, at 17–18; Doc. No. 29, at 4–5. However, Plaintiff attached to his

   motion for default judgment a copy of his phone records from T-Mobile. Doc. No. 29-3. Those

   records document only 21 phone calls corresponding to the allegations of the complaint. Id.

   Plaintiff’s motion does not address this discrepancy.

          Finally, Plaintiff seeks treble damages under the TCPA. The pertinent provisions of the

   TCPA provide that a court may, in its discretion, award treble damages for willful or knowing

   violations. 47 U.S.C. §§ 227(b)(3), (c)(5). In order to be entitled to treble damages in the default



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   judgment context, the claimant must establish in the complaint that the defendant knew that “he was

   performing the conduct that violates the statute.” See Lary v. Trinity Physician Fin. & Ins. Servs.,

   780 F.3d 1101, 1108 (11th Cir. 2015).             A bare assertion in the complaint that a defendant

   “willfully” and “knowingly” violated the TCPA is a legal conclusion insufficient to establish this

   fact for purposes of a default judgment. Id. In the motion for default judgment, Plaintiff does not

   delineate how the factual allegations of the complaint establish that Defendants willfully or

   knowingly violated the TCPA. Thus, a renewed motion must demonstrate, with pinpoint citations

   to the complaint, why treble damages are warranted in this case. 3

           Accordingly, it is ORDERED that Plaintiff shall file a renewed motion for entry of a default

   judgment on or before March 5, 2019. The motion must specifically address the issues raised in

   this Order. Plaintiff is advised that any renewed motion for default judgment must comply with

   the format requirements set forth in the Local Rules of this Court. See Local Rules 1.05(a); 3.01(a).

           Alternatively, Plaintiff may file an amended complaint on or before March 5, 2019. If

   Plaintiff chooses to file an amended complaint, on or before March 15, 2019, he must file evidence

   that the amended complaint was properly served on each Defendant.

           DONE and ORDERED in Orlando, Florida on February 5, 2019.

                                                                Karla R. Spaulding
                                                                KARLA R. SPAULDING
                                                          UNITED STATES MAGISTRATE JUDGE


           3
             It is unlikely that, on the current complaint, Plaintiff will be able to establish that treble damages
   are warranted. “Recent cases have allowed plaintiffs to recover treble damages on default judgments when
   a defendant places automated calls contrary to a plaintiff’s stated request.” Ewton v. Pushpin Holdings,
   LLC, No. 8:16-cv-00978-CEH-TBM, 2017 WL 882081, at *4 (M.D. Fla. Mar. 6, 2017) (collecting cases).
   The only evidence Plaintiff presents that he expressly asked Defendants to no longer contact him occurred in
   an email on July 31, 2018, when he requested to be placed on Defendants’ do-not-call list. Doc. No. 29-2.
   In the complaint, Plaintiff alleges that Defendants placed automated calls to his cellphone from October 17,
   2017 through June 21, 2018. Doc. No. 1, at 17–18; see also Doc. No. 29-3. None of these phone calls
   occurred after Plaintiff alleges that he explicitly requested that Defendants no longer call his cellphone.


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